                    IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-37

                                            No. 49A20

                                       Filed 16 April 2021

     STATE OF NORTH CAROLINA

                   v.
     FAYE LARKIN MEADER


           Appeal pursuant to N.C.G.S. § 7A-30(2) from the decision of a divided panel of

     the Court of Appeals, 269 N.C. App. 446, 838 S.E.2d 643 (2020), finding no error after

     appeal from judgments entered on 19 December 2018 by Judge R. Stuart Albright in

     Superior Court, Guilford County. Heard in the Supreme Court on 15 February 2021.


           Joshua H. Stein, Attorney General, by Matthew Baptiste Holloway, Assistant
           Attorney General, for the State-appellee.

            Bonnie Keith Green for defendant-appellant.


           BERGER, Justice.

¶1         On December 19, 2018, a Guilford County jury found defendant Faye Larkin

     Meader guilty of felony breaking or entering a motor vehicle, misdemeanor larceny,

     and misdemeanor possession of stolen property.1 Defendant received a split sentence,

     and she was placed on supervised probation. The Court of Appeals determined that

     the trial court did not err when it declined to instruct the jury on voluntary




           1 The trial court arrested judgment on the possession of stolen goods conviction.
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     intoxication. Defendant appeals.

                       I.   Factual and Procedural Background

¶2         At approximately 2:00 p.m. on November 22, 2017, defendant arrived at a

     mental health counseling center in Greensboro, North Carolina. Law enforcement

     was contacted, and dispatch was informed that defendant was behaving as if she was

     intoxicated.

¶3         Earlier that afternoon, a family arrived for an appointment at the same

     counseling center. When the family returned to their vehicle after the appointment,

     they noticed that the driver’s side door was open, and items were missing from their

     vehicle. Among the missing items were an ammunition clip, a pair of sunglasses, and

     a drink koozie. In addition, a soda can, which did not belong to any of the family

     members, had been placed in a cupholder. The husband called law enforcement to

     report the incident. The wife returned to the counseling center, where she observed

     defendant drinking soda out of a cup. The wife recognized defendant because they

     had attended school together.

¶4         The husband returned to the counseling center and informed an employee that

     someone had broken into his vehicle. He asked if anyone had “seen anything weird.”

     Defendant, who was still in the lobby of the counseling center at the time, “stood up

     and came over to where [the family was] and started talking” to them. Defendant

     informed the husband that she knew who broke into the car and provided him with a
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     name.     When the husband informed defendant that law enforcement had been

     contacted, defendant got “irate” and said, “no cops.”

¶5           When the husband walked past defendant to exit the counseling center, he

     “smelled alcohol somewhere.” Two other witnesses stated that defendant “appeared

     to be” or “seemed” intoxicated.

¶6           Caterina Sanchez, a therapist at the counseling center, testified that defendant

     “was disruptive in terms of not wanting to leave and not really listening to us [ b]ut

     she . . . wasn’t misbehaving or anything like that.” Ms. Sanchez testified that because

     of defendant’s behavior, Ms. Sanchez decided to call law enforcement and Chris

     Faulkner, the owner of the counseling center.

¶7           Mr. Faulkner testified that, although defendant was “agitated,” she “was

     answering the [law enforcement officers’] questions . . . [and was being] fairly

     cooperative.”    Mr. Faulkner advised defendant that she was banned from the

     property; when asked if she understood, defendant replied, “yes, sir.”

¶8           When officers arrived at the counseling center, they asked defendant why she

     was there. Defendant told them her father passed away the previous month and that

     she had been the victim of a domestic violence incident the day before. Defendant

     removed her pants to show officers a bruise on her thigh.

¶9           As officers escorted defendant from the center, she became agitated and stated

     that she needed to collect her shoes, bra, and purse. When defendant failed to leave
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       the premises as instructed, defendant was handcuffed and escorted out. Defendant

       navigated a flight of stairs without assistance while her arms were handcuffed behind

       her back.

¶ 10         A search of the premises failed to reveal missing property, and officers were

       prepared to release defendant when they noticed a shiny object in defendant’s jacket

       pocket. Defendant told officers that the object was a cellphone, but she pulled the

       missing ammunition clip from her pocket. Defendant was then arrested for felony

       breaking or entering a motor vehicle, misdemeanor larceny, and misdemeanor

       possession of stolen property. Once at the police station, the stolen drink koozie was

       located in defendant’s jacket pocket and the stolen sunglasses were found on the

       floorboard of the patrol car.

¶ 11         On September 24, 2018, defendant was indicted on one count of felony breaking

       or entering a motor vehicle, one count of misdemeanor larceny, and one count of

       misdemeanor possession of stolen property. On December 7, 2018, defendant gave

       notice of her intent to offer the defense of voluntary intoxication. On December 17,

       2018, defendant’s case came on for trial. The trial court denied defendant’s request

       for a voluntary intoxication jury instruction. On December 19, 2018, the jury found

       defendant guilty on all charges. Defendant entered notice of appeal.

¶ 12         In denying defendant’s request for the instruction on voluntary intoxication,

       the trial court stated:
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That will be denied[.] . . . [T]he [c]ourt has listened to all of
the testimony intently. I also reviewed State’s Exhibit
Number 1, which was admitted without objection. And—
and there are three videos on State’s 1. The first video
clearly shows the Defendant, and I understand that the
witnesses in the light most favorable to the Defendant have
testified that the Defendant was intoxicated. However,
during the course of the video, I could hear the Defendant’s
words. She was not slurring her words. She was speaking
in easily understandable English. There were many
questions that were asked of her to which she was
responsive. It was clear that she was responsive and was
aware of what was going on around her.

       For instance, they asked her how she got there, and
she said, well, they brought me. It was an appropriate
response to the question. She later identified, or attempted
to identify the name of the people that brought her, but in
any event, there are many other indications that she was
responsive and aware of what was going on.

        For instance, on the video you clearly hear Mr.
Faulkner, the owner of the business at issue, “You are not
allowed to come here any longer. You understand?” And
her response was, “Yes, sir.” At one point one law
enforcement officer, I believe it was a law enforcement
officer, asked her for her name, and she clearly indicated it
was Faye Larkin Meader. It was easily understandable. It
was an appropriate response, a direct response to the
question asked.

      Although she was escorted out of the business at
issue by law enforcement officers, she was able to walk
under her own power. In other words, the officers didn’t
have to carry her, did not have to put her in some type of
wheelchair, simply directed her to leave, and that’s what
she did.

      At one point, when she was sitting in the patrol car,
she was directed or requested by the officer to put your feet
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             back in there for me, and the Defendant immediately
             complied, indicating she understood, was responsive and
             aware of what was going on. At one point, when she was
             attempting to articulate what happened, and how she got
             to the predicament she was in, she was complaining of
             another person selling marijuana and oxycontin.
             Oxycontin is not a—it’s not a tongue-twister, but for
             someone that was so completely intoxicated and without
             the ability to form intent, it would—it would seem to me to
             be very hard to articulate such a word very clearly and
             easily, as she did, as I witnessed in the video. At one point,
             she indicated she wanted her coat because it was cold
             outside. Again, the point is she was aware of what was
             going on, that it was cold, and that when you’re cold, you
             need a jacket. That’s exactly what she indicated.

                   At one point, she was asked on the video what
             happened to the laptop computer, or words to that effect,
             and the Defendant immediately said she had no idea what
             the officer was talking about, which was, in fact, an
             accurate statement based on the facts of this case. Again,
             the Defendant was responsive and aware of what was going
             on around her, and answered that question immediately,
             appropriately, and, as it turns out, accurately.

                    She was also—the Defendant was also aware of
             what was going on around her because she knew she was
             interacting with law enforcement officers. At one point she
             said, “God bless you all. You all have a hard job.” In any
             event, there is ample evidence to show that, again, she was
             responsive and aware of what was going on around her.

                   ....

                    No one in this case testified that the Defendant was,
             in fact, drunk. Although the testimony was that she was
             impaired or intoxicated on some type of substance. The
             substance has been unidentified.

¶ 13   In an opinion filed January 21, 2020, the Court of Appeals held that the trial
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       court did not err when it declined to instruct the jury on voluntary intoxication

       because defendant failed to produce sufficient evidence of voluntary intoxication.

       State v. Meader, 269 N.C. App. 446, 450, 838 S.E.2d 643, 646 (2020). The dissenting

       judge argued that substantial evidence was presented to support a voluntary

       intoxication instruction and the failure to instruct the jury on voluntary intoxication

       constituted prejudicial error which requires a new trial. Id. at 451–56, 838 S.E.2d at

       646–50 (Brook, J., dissenting).

¶ 14         Defendant argues that substantial evidence was presented to require a

       voluntary intoxication instruction. We disagree.

                                  II.    Standard of Review

¶ 15         To determine whether a defendant is entitled to a requested instruction on

       voluntary intoxication, this Court reviews de novo whether each element of the

       defense is supported by substantial evidence when taken in the light most favorable

       to the defendant. State v. Mash, 323 N.C. 339, 348, 372 S.E.2d 532, 537 (1988).

       “Substantial evidence is such relevant evidence as a reasonable mind might accept

       as adequate to support a conclusion.” State v. Franklin, 327 N.C. 162, 171, 393 S.E.2d

       781, 787 (1990).

                                         III.     Analysis

¶ 16         “[T]he doctrine [of voluntary intoxication] should be applied with great

       caution.” State v. Murphy, 157 N.C. 614, 617–18, 72 S.E. 1075, 1076–77 (1911). A
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       defendant is not entitled to an instruction on voluntary intoxication “in every case in

       which a defendant . . . consum[es] intoxicating beverages or controlled substances.”

       State v. Baldwin, 330 N.C. 446, 462, 412 S.E.2d 31, 41 (1992).

¶ 17         To obtain a voluntary intoxication instruction, a defendant

                    must produce substantial evidence which would support a
                    conclusion by the judge that [s]he was so intoxicated that
                    [s]he could not form [the specific] intent . . . . The evidence
                    must show that at the time of the [crime] the defendant’s
                    mind and reason were so completely intoxicated and
                    overthrown as to render [her] utterly incapable of forming
                    [specific intent]. In absence of some evidence of intoxication
                    to such degree, the court is not required to charge the jury
                    thereon.

       Mash, 323 N.C. at 346, 372 S.E.2d at 536 (cleaned up). “[T]here must be some

       evidence tending to show that the defendant’s mental processes were so overcome by

       the excessive use of liquor or other intoxicants that he had temporarily, at least, lost

       the capacity to think and plan.” State v. Cureton, 218 N.C. 491, 495, 11 S.E.2d 469,

       471 (1940). “A defendant who wishes to raise an issue for the jury as to whether he

       was so intoxicated by the voluntary consumption of alcohol . . . has the burden of

       producing evidence, or relying on evidence produced by the [S]tate, of his

       intoxication.”   Mash, 323 N.C. at 346, 372 S.E.2d at 536.           “Evidence of mere

       intoxication . . . is not enough to meet defendant’s burden of production.” Id. at 346,

       372 S.E.2d at 536.
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¶ 18         Defendant argues that witnesses testified about her bizarre behavior, that she

       appeared to be intoxicated, and that there was an odor of alcohol in the counseling

       center. In addition, defendant argues that testimony and police body camera footage

       established that she was out of touch with reality, hallucinating, talking to people

       who were not present, and unaware of her surroundings. However, while defendant’s

       actions were periodically unusual, the mere fact that “[a] person may be excited,

       intoxicated and emotionally upset” does not negate “the capability to formulate the

       necessary” intent. Id. at 347, 372 S.E.2d at 537 (cleaned up). Defendant has failed

       to present substantial evidence that she was “utterly incapable” of forming specific

       intent. Id. at 346, 372 S.E.2d at 536.

¶ 19         The record reflects that defendant did not slur her speech or hesitate when

       asked to provide biographical information, and defendant gave appropriate responses

       to the law enforcement officers’ questions when prompted. As the trial court stated,

       defendant “was not slurring her words. She was speaking in easily understandable

       English. There were many questions that were asked of her to which she was

       responsive.” In addition, when police arrived and arrested defendant, she was able

       to navigate a flight of stairs with her hands cuffed behind her back. As the trial court

       noted, defendant “was able to walk under her own power” and “officers did[ not] have

       to carry her, did not have to put her in some type of wheelchair, simply directed her
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       to leave, and that’s what she did.”      Thus, even in the light most favorable to

       defendant, defendant has demonstrated, at best, mere intoxication.

¶ 20         In State v. Goodman, 298 N.C. 1, 14, 257 S.E.2d 569, 579 (1979), the defendant

       was charged with first-degree murder, robbery with a dangerous weapon, and

       kidnapping. Defendant argued that his voluntary intoxication prevented him from

       premeditation and deliberation necessary for a conviction of first-degree murder.

¶ 21         In that case, the defendant shared a six pack of beer with two other men,

       consumed more beer at a bar less than thirty minutes before the victim got in the car

       with the defendant, and there was beer in the car the defendant was driving. Id. at

       13–14, 257 S.E.2d at 579. However, this Court stated that “[w]hether intoxication

       and premeditation can coexist depends upon the degree of inebriety and its effect

       upon the mind and passions; no inference of the absence of deliberation and

       premeditation arises as a matter of law from intoxication.” Id. at 12, 257 S.E.2d at

       578 (citation omitted).   This Court determined that, despite evidence that the

       defendant had been drinking, the defendant “was capable of premeditation and

       deliberation and could form the specific intent.” Id. at 14, 257 S.E.2d at 579. This

       Court went on to conclude that the trial court did not err when it declined to give an

       instruction on voluntary intoxication because there was “no evidence which showed
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       that defendant’s capacity to think and plan was affected by drunkenness [at the time

       he shot the victim].”2 Id. at 14, 257 S.E.2d at 579.

¶ 22          Such is the case here. The undisputed evidence tended to show that defendant

       was aware of her surroundings, and in control of her faculties, both before and after

       the police arrived. When the husband asked if anyone had “seen anything weird,”

       defendant stood up, walked over to the family whose vehicle had been broken into,

       and started talking to them. Defendant informed the husband that she knew who

       broke into the car and provided him with a name. When the husband informed

       defendant that law enforcement had been contacted, defendant became “irate” and

       said, “no cops.”

¶ 23          Defendant understood that involving law enforcement was detrimental to her

       interests. To conceal her involvement in the crime, she fabricated a story about

       another individual’s involvement. Based on these facts, viewed in the light most

       favorable to defendant, she cannot demonstrate that her “mind and reason were so

       completely intoxicated and overthrown as to render [her] utterly incapable of forming

       [specific intent].” Mash, 323 N.C. at 346, 372 S.E.2d at 536 (cleaned up).




              2 One could argue that Goodman presents an even stronger argument for an
       involuntary intoxication instruction than the case sub judice in light of the amount of alcohol
       that the defendant was shown to have consumed. That an instruction was not required on
       the facts in Goodman provides support for this Court’s admonition that “the doctrine [of
       voluntary intoxication] should be applied with great caution.” Murphy, 157 N.C. at 617–18,
       72 S.E. at 1076–77.
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¶ 24         Because a voluntary intoxication instruction is only appropriate when the

       record contains evidence that permits the jury to determine that the defendant is

       unable to form the specific intent necessary to support a conviction for the crime

       charged, the trial court did not err when it declined to instruct the jury on voluntary

       intoxication.



             AFFIRMED.
             Justice HUDSON dissenting.

¶ 25         Because I would hold that the evidence, when taken in the light most favorable

       to defendant, was sufficient to warrant a jury instruction on voluntary intoxication, I

       respectfully dissent.

¶ 26         A defendant is entitled to have the jury instructed on voluntary intoxication

       when there is substantial evidence that the defendant was so intoxicated that he or

       she could not form the requisite intent. State v. Mash, 323 N.C. 339, 346 (1988).

       “When determining whether the evidence is sufficient to entitle a defendant to jury

       instructions on a defense or mitigating factor, courts must consider the evidence in

       the light most favorable to defendant.” Id. at 348. In addition, all reasonable

       inferences from that evidence must be drawn in defendant’s favor. Cf. State v.

       Chevallier, 264 N.C. App. 204, 214 (2019) (“In determining whether the trial evidence

       adduced was sufficient to instruct on a particular theory of criminal liability, we

       review the evidence and any reasonable inference from that evidence in the light most

       favorable to the State.”).

¶ 27         In the light most favorable to defendant, the evidence here tends to show that

       she was intoxicated and that she was unaware that she had taken another’s property.

       A rational trier of fact could conclude that defendant was so intoxicated that she could

       not form the requisite intent to commit the offenses charged.

¶ 28         At trial, the jury heard testimony from various witnesses who observed

       defendant at the counseling center. In addition, jurors were shown footage from the
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       responding officers’ bodycams and so were able to observe defendant’s behavior for

       themselves. This evidence tended to show that defendant was intoxicated at the time

       of the alleged crime. On the day of the incident, there were two calls to 911; the first

       call was by a therapist at the counseling center to report an “intoxicated person,” and

       the second call was by the vehicle owner to report a break-in to his vehicle. The first

       person who called 911 testified that defendant appeared to be intoxicated. Officer

       Fulp, who was on the team that responded to the first 911 call, testified that

       defendant appeared to be intoxicated or impaired by an illegal substance. And, at the

       scene, a witness told an officer that he smelled alcohol on defendant.

¶ 29         There was also evidence, much of which has not been mentioned in the

       majority opinion, that defendant was acting in a manner consistent with intoxication.

       When Officer Fulp first approached defendant, she “started talking about getting beat

       up the night before by a guy named Sebastian,” and then defendant pulled down her

       pants in front of everyone. While speaking with the officers, defendant asked someone

       named Omar for her wallet, but no one named Omar was present at the time. When

       the owner of the counseling center asked the officers if they would continue their

       investigation outside, defendant “became loud” and had to be handcuffed. While the

       officers escorted defendant from the building, defendant claimed that she needed to

       get her bra from the bedroom, but the counseling center had no bedrooms. When she

       was in the police vehicle being questioned by the officers, defendant lost control of her
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       faculties and urinated on herself. She then refused to get out of the police vehicle.

       Once the officers coaxed her into exiting the vehicle, she produced a stolen

       ammunition magazine from her pocket saying it was her cell phone. Officer Fulp then

       placed defendant back in handcuffs and took her to the jail. From the jail, defendant

       phoned her aunt, who testified that she “sounded delirious.” We are required to

       consider the evidence and draw all reasonable inferences in the light most favorable

       to defendant. Accordingly, I would conclude there was substantial evidence that

       defendant was intoxicated at the time of the alleged crime.

¶ 30         The majority is correct that “[e]vidence of mere intoxication . . . is not enough

       to meet defendant’s burden of production.” Mash, 323 N.C. at 346. “[T]he defense of

       voluntary intoxication depends not on the amount of alcohol consumed, but on its

       effect on the defendant’s ability to form the specific intent [required by the statute].”

       State v. Cagle, 346 N.C. 497, 508 (1997). Evidence of exactly what substance

       defendant consumed, in what quantity she consumed it, and over what period of time

       it was consumed, is not required or dispositive. A defendant is only required to show

       that her intoxication rendered her unable to form the requisite intent to commit the

       crimes charged. Mash, 323 N.C. at 346.

¶ 31         Cases in which a voluntary intoxication instruction has been denied have

       involved either evidence of purposefulness despite intoxication or a complete absence

       of evidence of the effects of intoxication on the defendant’s functioning. In Cagle, for
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       example, we concluded that the trial court had committed no error in refusing to give

       an instruction on voluntary intoxication when the defendant had consumed

       significant amounts of alcohol and smoked marijuana but had discussed his plan to

       rob the victim, took steps to follow that plan, repeatedly said, “go finish him, go kill

       him,” and planned an alibi. 346 N.C. at 508–09; see also State v. Geddie, 345 N.C. 73,

       95 (1996) (“[E]vidence showed only that defendant drank some liquor. There was no

       evidence indicating that defendant was so intoxicated as to be utterly incapable of

       forming the intent to kill.”); State v. Long, 354 N.C. 534, 538–39 (2001) (holding that,

       despite being “substantially impaired,” actions taken to hide his involvement in the

       crime demonstrated defendant could think rationally); State v. Robbins, 319 N.C. 465,

       509 (1987) (“[N]o evidence was presented showing that the defendant’s capacity to

       think and plan was affected or impaired by intoxication.”).

¶ 32         Likewise, in State v. Goodman, 298 N.C. 1, 12 (1979), we held that intoxication

       alone does not automatically lead to the inference that a defendant cannot form the

       requisite intent. There, we concluded that the trial court had not erred by refusing to

       give an instruction on voluntary intoxication because the evidence showed that

       despite defendant’s consumption of alcohol, he was able to drive, give directions, lead

       a group on a search through a neighborhood looking for items that had been stolen

       from his car, and participate in planning a scheme for disposing of the victim's body.

       Id. at 14. In addition, witnesses testified that defendant was “not in a drunken
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       condition” and we concluded that “[t]here was no evidence which showed that

       defendant's capacity to think and plan was affected by drunkenness.” Id.
¶ 33         Unlike those cases, from the evidence here one could infer that defendant was

       so intoxicated that she could not form the requisite intent to commit the crimes

       alleged. A reasonable juror could infer from the evidence that defendant was unaware

       of her surroundings, was completely unaware that she had taken items from the

       vehicle, and that her capacity to think and plan was affected by intoxication. For

       example, when the owner of the vehicle discovered the break-in and asked if anyone

       had seen anything, defendant approached the owner and told an unrelated story

       involving a man jumping from a third floor to punch her. Also, when the police arrived

       at the counseling center, defendant believed they had come to help her rather than to

       remove her from the premises.

¶ 34         Additionally, defendant made no effort to conceal her actions. During a

       conversation with the officers, she told them she did not have a cell phone. But a few

       minutes later, when an officer asked her about a bulge in her pocket, she told the

       officer the bulge was her cell phone. She then proceeded to grab the bulge and hand

       it over to the officer without reservation or reluctance. In fact, she had handed the

       officer an ammunition magazine—an item reported missing from the vehicle that had

       been broken into. When the officers reacted to the ammunition magazine as evidence

       of a potential crime, defendant got upset and seemed to believe all of a sudden that
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       she had handed them a weapon. She said, “I didn’t know [it was a gun]; I would have

       never handed it to you if I would have known it was a gun.” She also wore the

       sunglasses she was later charged with stealing in her shirt in plain sight of the

       officers and other witnesses. Although evidence of defendant being an unskilled

       criminal does not entitle her to a voluntary intoxication instruction, in the light most

       favorable to defendant this evidence tends to show that she could not have formed

       the intent to commit the offenses charged. This evidence goes beyond defendant being

       “excited, intoxicated and emotionally upset,” Mash, 323 N.C. at 347 (quoting State v.

       Hamby, 276 N.C. 674, 678 (1970)), and could support an inference of a real inability

       to comprehend the surroundings and events around her.

¶ 35          Pointing to evidence that defendant walked down a stairway while handcuffed,

       provided biographical information, did not slur her words, and responded to the

       officers’ questions, the majority concludes that this is not a “ ‘very clear case[ ]’ [where]

       the intoxication was so severe that it could have negated [ ] defendant’s ability to form

       specific intent.”1 But the sum of the evidence here is, at best, equivocal. Substantial


              1 I also note that our law does not require that a voluntary intoxication instruction be

       given only in “very clear cases.” The majority quotes from State v. Absher, 226 N.C. 656, 660       (1946), where our Court quoted from a jury instruction on voluntary intoxication. In that
       instruction, the trial court said, “[a]s the doctrine [of voluntary intoxication] is one that is
       dangerous in its application, it is allowed only in very clear cases.” Id. at 660. Far from
       establishing a threshold requirement that the voluntary intoxication jury instruction only be
       given in very clear cases, our Court was merely quoting from a case in which the trial court
       determined there was sufficient evidence to warrant instructions on voluntary intoxication.
       The trial court then gave that instruction to the jury, warning the jury that the defense
       should only apply in clear cases.
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       evidence supports the opposite conclusion, and our courts are required to consider the

       evidence in the light most favorable to defendant; in doing so, I would hold that the

       jury should have been instructed on voluntary intoxication.

¶ 36         Finally, I would conclude that the trial court’s failure to deliver the voluntary

       intoxication instruction to the jury was prejudicial. Having been given no instruction

       on voluntary intoxication, the jury was initially split regarding defendant’s intent

       and had to be reminded that they must reach a unanimous verdict. The jury

       continued to deliberate before eventually requesting the definition of “utterly

       incapable,” a term that pertains to the voluntary intoxication defense. The trial

       court’s response was that “utterly incapable” had no legal significance in this case.

       Ultimately, the jury returned guilty verdicts. Because the jury seemed particularly

       concerned with defendant’s ability to form the requisite intent, I would conclude that

       there is a reasonable possibility that had a voluntary intoxication instruction been

       given, the jury would have reached a different result.

¶ 37         When taken in the light most favorable to defendant, there is substantial

       evidence from which a reasonable juror could have found that defendant was so

       intoxicated that she could not form the specific intent to commit the offenses charged.

       In addition, the trial court’s failure to deliver the instruction was prejudicial.

¶ 38         For the foregoing reasons, I respectfully dissent.

             Justice MORGAN and Justice EARLS join in this dissenting opinion.
